                Case 19-00008                 Doc 15               Filed 01/29/19 Entered 01/29/19 17:13:49                                   Desc Main
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Fill in this information to identify your case:
Debtor 1                  David                               E.                               George
                          First Name                          Middle Name                      Last Name


Debtor 2
(Spouse, if filing)       First Name                          Middle Name                      Last Name

United States Bankruptcy Court for the District of Alaska
Case number:              A19-00008




Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                          12/15
If you are an individual fiing under Chapter 7, you must fill out this form if:
          Creditors have claims secured by your property, or
          You have leased personal property and the lease has not expired.

You must file this form with the Court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever
is earlier, unless the Court extendds the time for cause. You must also snd copies to the creditors and lessors you list on the form.

If two married peopler are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date this form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known).

Part 1                 List Your Creditors W ho Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in
the information below.

Identify the creditor and the property that is collateral                   W hat do you intend to do w ith the property that                D id you claim the property as
                                                                            secures the debt?                                                exem pt on S chedule C ?


C reditor’s nam e:                                                                     S urrender the property                                         No
A nnabelle A lvite                                                                     R etain the property and redeem it                              Yes
D escription of property securing debt:                                                  R etain the property and enter into a
R eal estate and im provem ents at 4841 K ent S treet,                      R eaffirm ation A greem ent
A nchorage, A laska                                                                      R etain the property and [explain]:await its sale
                                                                            by the Trustee and then m ove out after creditors have
                                                                            been paid.
C reditor’s nam e:                                                                     S urrender the property                                         No
Internal R evenue S ervice                                                             R etain the property and redeem it                              Yes
D escription of property securing debt:                                                  R etain the property and enter into a
R eal estate and im provem ents at 4841 K ent S treet,                      R eaffirm ation A greem ent
A nchorage, A laska                                                                      R etain the property and [explain]:await its sale
                                                                            by the Trustee and then m ove out after creditors have
                                                                            been paid.
C reditor’s nam e:                                                                     S urrender the property                                         No
M r. C ooper                                                                           R etain the property and redeem it                              Yes
D escription of property securing debt:                                                  R etain the property and enter into a
R eal estate and im provem ents at 4841 K ent S treet,                      R eaffirm ation A greem ent
A nchorage, A laska                                                                      R etain the property and [explain]:await its sale
                                                                            by the Trustee and then m ove out after creditors have
                                                                            been paid.
C reditor’s nam e:                                                                     S urrender the property                                         No
P aula W illiam s                                                                      R etain the property and redeem it                              Yes
D escription of property securing debt:                                                  R etain the property and enter into a
R eal estate and im provem ents at 4841 K ent S treet,                      R eaffirm ation A greem ent
A nchorage, A laska                                                                      R etain the property and [explain]:await its sale
                                                                            by the Trustee and then m ove out after creditors have
                                                                            been paid.
C reditor’s nam e:                                                                     S urrender the property                                         No
                                                                                       R etain the property and redeem it                              Yes
D escription of property securing debt:                                                  R etain the property and enter into a
                                                                            R eaffirm ation A greem ent
                                                                                         R etain the property and [explain]:




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D ebtor 1         D avid                      E.                            G eorge                                                 C ase num ber (if known): A 19-00008
                  First Name                  Middle Name                   Last Name

Part 2                    List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. §365(p)(2).

Identify your unexpired personal property leases                                                                                                   W ill the lease be assum ed?
Lessor’s nam e                                                                                                                                                No
                                                                                                                                                              Yes
D escription of leased property:



Lessor’s nam e                                                                                                                                                No
                                                                                                                                                              Yes
D escription of leased property:



Lessor’s nam e                                                                                                                                                No
                                                                                                                                                              Yes
D escription of leased property:



Lessor’s nam e                                                                                                                                                No
                                                                                                                                                              Yes
D escription of leased property:



Lessor’s nam e                                                                                                                                                No
                                                                                                                                                              Yes
D escription of leased property:



Lessor’s nam e                                                                                                                                                No
                                                                                                                                                              Yes
D escription of leased property:



Lessor’s nam e                                                                                                                                                No
                                                                                                                                                              Yes
D escription of leased property:



Lessor’s nam e                                                                                                                                                No
                                                                                                                                                              Yes
D escription of leased property:



Lessor’s nam e                                                                                                                                                No
                                                                                                                                                              Yes
D escription of leased property:



Lessor’s nam e                                                                                                                                                No
                                                                                                                                                              Yes
D escription of leased property:



Part 3                    Sign Below

U nder penalty of perjury, I declare that I have indicated m y intention about any property of m y estate that secures a debt and
any personal property that is subject to an unexpired lease.



/s/ D avid E . G eorge
S ignature of D ebtor 1                                                          S ignature of D ebtor 2



D ate       01/24/2019                                                           D ate
            M M / D D /YYYY                                                                      M M / D D /YYYY




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